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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                     BEAUMONT DIVISION



UNITED STATES OF AMERICA                           §
                                                   §
V.                                                 §            NO. 1:07-CR-140
                                                   §
CLAYTON TRAVIS GOODWIN                             §


       ORDER ADOPTING UNITED STATES MAGISTRATE JUDGE’S REPORT


        On this day, the court considered the Findings of Fact and Recommendation of United States

Magistrate Judge Earl S. Hines regarding defendant’s plea of guilty to Count I of the Information in

the above-numbered case. Having conducted a proceeding in the form and manner prescribed by

Fed. R. Crim. P. 11, the magistrate judge recommends that the court conditionally accept the plea

agreement and the guilty plea of defendant. The court is of the opinion that the Findings of Fact and

Recommendation should be accepted.


        Accordingly, it is ORDERED that the Findings of Fact and Recommendation of the United

States magistrate judge are ADOPTED.


        It is further ORDERED that the court conditionally accepts the plea agreement as to Count

I of the Information and will defer its final decision as to acceptance or rejection until there has been

an opportunity to consider the presentence report.


        SIGNED this the 17 day of January, 2008.




                                        ____________________________
                                        Thad Heartfield
                                        United States District Judge
